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 9
                               UNITED STATES DISTRICT COURT
10
                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12
   ROSE RIVALI, on behalf of herself and all   CASE NO. 2:22-cv-02175-RGK-GJS
13 others similarly situated,
                                               JOINT STATUS REPORT
14
                Plaintiff,
15                                             Judge: Hon. R. Gary Klausner
   v.
16                                             Action Filed: April 1, 2022
   SHUTTERFLY, LLC, a Delaware Limited
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   Liability Company, and DOES 1-50,
18 inclusive,
19                   Defendants.
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                                    JOINT STATUS REPORT
     ACTIVE 685923499v1
  Case 2:22-cv-02175-RGK-GJS Document 33 Filed 03/09/23 Page 2 of 2 Page ID #:252


 1           Pursuant to the Court’s March 3, 2023 minute order, Plaintiff Rose Rivali
 2 (“Plaintiff”) and Defendant Shutterfly, LLC (“Shutterfly”) submit this joint status report.
 3           Before arbitration began, the parties participated in a two-day mediation with
 4 Shirish Gupta (JAMS) on August 4, 2022 and August 8, 2022. As a result of that
 5 mediation and subsequent discussions, the parties negotiated a prospective settlement.
 6 The parties are continuing to finalize the terms and expect to execute a settlement
 7 agreement and release within the next 7-14 days. As part of the settlement, the parties
 8 anticipate that Plaintiff will dismiss this action without prejudice and file her claims
 9 (which also seek injunctive and equitable relief) in the Superior Court of California,
10 County of San Diego.
11
12                                           Respectfully submitted,
13 DATED: March 9, 2023                      GREENBERG TRAURIG, LLP
14
15                                    By:    /s/ Robert J. Herrington
                                             Robert J. Herrington
16                                           Attorneys for Defendant Shutterfly, LLC
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18 DATED: March 9, 2023                      LYNCH CARPENTER LLP
19
20                                    By:    /s/ James B. Drimmer
                                             Todd D. Carpenter
21                                           James B. Drimmer
22                                           Attorneys for Plaintiff Rose Rivali
23
24                                  Signature Certification
         Pursuant to C.D. Cal. Local Rule 5-4.3.4(a)(2)(i), I hereby attest that James B.
25 Drimmer, on whose behalf this filing is jointly submitted, has concurred in this filing’s
26 content and has authorized me to electronically file this document.
27                                    By:    /s/ Robert J. Herrington
28                                           Robert J. Herrington

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                                      JOINT STATUS REPORT
     ACTIVE 685923499v1
